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Attorney for Plaintiff




                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF ALASKA


SUSANNE EDGMON,                             )
                                  )
           Plaintiff,             )
                                  )
                                  )
vs.                               )
                                  ) Case 3:07-cv-__________ (____)
UNITED STATES OF AMERICA,         )
                                  )
           Defendant.             )      COMPLAINT
__________________________________)

       COMES NOW, the plaintiff, SUSANNE EDGMON, by and through her attorney,
CHARLES W. COE, to state and allege the following as her cause of action for her
complaint.



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                                               I
       This court has jurisdiction over this cause of action pursuant to 28 U.S.C. 1346(b)
and 28 U.S.C. 2671, et seq., (the Federal Tort Claims Act) as hereinafter more fully appears.
                                              II
       Venue is proper in the United States District Court for the District of Alaska pursuant
to 28 U.S.C. 1402(b). The plaintiff was a resident within the District of Alaska when this
incident occurred and when the act or omission complained of occurred within the District
of Alaska and the United States is a defendant.
                                              III
       A Federal Tort Claim was filed with the United States Department of Health and
Human Services on November 17, 2004 This claim was not administratively denied or
resolved by this agency within 6 months and suit is permitted under 28 U.S.C. 2675(a).
                                              IV
       The United States of America is a defendant in this matter in that the Department of
Health and Human Services is a department of the United States government and is
vicariously liable for the acts/omissions of their employees, representatives, contractors, and
agents under the theories of respondeat superior, agency, negligence, joint enterprise,
negligent entrustment, and negligent supervision. The term defendant in this complaint
means United States and/or Department of Health and Human Services acting through their
employees, representatives, contractors and/or agents at the Kanakanak Hospital in
Dillingham, Alaska.




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                                               V
       All events relevant to the cause of action of this complaint occurred in the state of
Alaska at Dillingham, Alaska.
                                               VI
       During 2001 to January 7, 2003, plaintiff, Susanne Edgmon, was residing in
Dillingham, Alaska when she would develop abdominal pains and pelvic pains. At various
times she would be seen by defendant’s hospital and personnel in Dillingham regarding her
complaints. Plaintiff was told by the hospital personnel that these conditions were not
serious and that they were related to digestive problems or a muscle strain.
                                              VII
       On January 7, 2003, she returned to the hospital in severe pain and was air evaced to
Anchorage. On January 8, 2003, she was properly diagnosed in Anchorage with ovarian
cancer stage III. Plaintiff was unaware that she had an advanced stage of ovarian cancer
until January 8, 2003.
                                              VIII
       The defendant, by and through the staff at its hospital, owed plaintiff, Susanne
Edgmon, a duty of care to perform the proper tests, inform her of the possible sources of her
medical problem, perform appropriate blood tests, properly read her abdominal x-rays and
by failing to refer her to be properly evaluated and treated for her medical conditions.
Defendant breached this duty by failing to warn Susanne Edgmon of her condition, by
failing to refer her to other medical professionals to evaluate and treat her condition, by
misdiagnosing her condition, and by failing to perform tests to determine if she had cancer.


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                                                 IX
          The defendant, through its employees and representatives, also owed a duty to the
plaintiff to have knowledge and expertise to perform procedures, interpret x-rays, and
provide proper diagnoses without causing injuries to the plaintiff. The care they provided to
the plaintiff was below acceptable medical standards of care. The defendant failed to
properly treat, evaluate, and diagnose the plaintiff’s condition. The plaintiff relied on
defendant’s warranties and representatives as to her condition resulting in her injuries and
damages set forth in paragraph X of this complaint
                                                 X
          As a direct and proximate result of the defendant’s breach of care, negligence, and
medical malpractice, the plaintiff incurred the following damages:
          1.     Ovarian cancer at a more difficult and deadly level;
          2.     Additional medical expenses to treat the plaintiff’s cancer;
          3.     A greater risk that plaintiff may not survive her cancer;
          4.     Lost wages;
          5.     Emotional and physical pain and suffering in the past, present, and
future;
          6.     Loss of enjoyment of life and loss of full use by Suzanne Edgmon of
her body;
          7.     Physical Impairment;
          8.     Grief, fear, and anxiety; and
          9.     Other damages to be proven at trial.


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       WHEREFORE, plaintiff prays for a judgment against the defendant as follows:
       1.      Compensatory damages in a sum to be proven at trial within the amount
originally claimed in the administrative claims process;
       2.      Costs and attorney fees as allowed under the Federal Tort Claims Act; and
       3.      For such other relief as this court deems just and equitable.

       DATED this 13th day of August, 2007.

                                            By: s/Charles W. Coe
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